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10                                    UNITED STATES DISTRICT COURT

11                                   EASTERN DISTRICT OF CALIFORNIA

12                                        SACRAMENTO DIVISION

13

14 RALPH COLEMAN, et al.,                                  Case No. 2:90-CV-00520- KJM-DB

15                     Plaintiffs,                         DECLARATION OF DAMON G.
                                                           MCCLAIN IN SUPPORT OF
16            v.                                           DEFENDANTS’ PORTION OF THE
                                                           JOINT STATEMENT RE: DEFENDANTS’
17 GAVIN NEWSOM, et al.                                    CONSULTANTS’ TOURS

18                     Defendants.
                                                           Judge:    Hon. Kimberly J. Mueller
19

20            I, Damon G. McClain, declare as follows:
21            1.       I am an attorney duly admitted to practice before this Court. I am a Supervising
22 Deputy Attorney General with the California Department of Justice, attorneys of record for

23 Defendants. I have personal knowledge of the facts set forth herein, except as to those stated on

24 information and belief and, as to those, I am informed and believe them to be true. If called as a

25 witness, I could and would competently testify to the matters stated herein.

26            2.       On April 21, 2023, co-counsel in this case, Paul Mello, sent via email a letter to
27 Plaintiffs’ counsel and the Special Master’s team notifying them that Defendants’ consultants at

28 VRJS/Falcon would “conduct a broader, systemwide study of the Mental Health Delivery
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                                            DECL. DAMON MCCLAIN
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 1 System,” which will “likely include on-site visits in the future – currently estimated to begin in

 2 July 2023.” A true and correct copy of Mr. Mello’s April 21, 2023 letter, of which I was also a

 3 recipient, is attached as Exhibit A. Plaintiffs’ counsel, Lisa Ells, responded via email on April 25,

 4 2023, and stated that Plaintiffs’ counsel would attend the tours, and did not indicate any objection

 5 to the tours proceeding. A true and correct copy of Ms. Ells’ April 25, 2023 email is attached as

 6 Exhibit B.

 7            3.       On June 13, 2023, co-counsel in this case, Samantha Wolff sent an email to

 8 Plaintiffs’ counsel and the Special Master’s team providing dates for the consultants’ tours set to

 9 occur in July and August. Ms. Wolff’s email provided the specific dates and locations for those

10 tours, and also indicated that “there will be additional tours after August, but we are still working

11 on those dates and we wanted to provide you the schedule for the next couple of months as soon as

12 we could.” A true and correct copy of Ms. Wolff’s June 13, 2023 email, of which I was a

13 recipient, is attached as Exhibit C. Ms. Wolff followed up via email on June 20, 2023, with

14 Plaintiffs’ counsel and the Special Master’s team to advise of the start time for the first day of each

15 tour. Ms. Wolff also advised that Defendants’ consultants would like to interview patients and

16 asked if Plaintiffs’ counsel would object. A true and correct copy of Ms. Wolff’s June 20, 2023

17 email, of which I was a recipient, is attached as Exhibit D.

18            4.       On June 22, Mr. Bien responded to Ms. Wolff’s June 20, 2023 email and stated that

19 Plaintiffs’ counsel “does not consent to any interviews by defense experts,” but that “[i]t is

20 possible that we would cooperate in defendants’ efforts to obtain interviews if we are provided

21 sufficient information to understand who will be doing the interviews and for what purpose.” Mr.

22 Bien also stated that Plaintiffs’ counsel “may permit interviews” when Plaintiffs’ counsel are

23 present and have had an opportunity to meet privately beforehand with the patient. A true and

24 correct copy of Mr. Bien’s June 22, 2023 email, of which I was a recipient, is attached as Exhibit

25 E.

26            5.       Ms. Wolff responded on June 30, 2023, and provided the information Mr. Bien had

27 requested, including the names of the clinician-consultants who would be conducting the

28 interviews and the purpose of the interviews (i.e., “to assist the Falcon team in evaluating CDCR’s
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 1 MHSDS” and explaining that “[p]art of their evaluation will involve an assessment of patient

 2 quality of care, and include patient interviews” because “patients’ honest feedback regarding their

 3 experiences receiving care at various levels would help the experts make that assessment and

 4 could provide valuable insights into patient perspectives.”). Ms. Wolff also advised that

 5 Defendants’ agreed to Mr. Bien’s requirement that class counsel would be present during the

 6 interviews, among other discussion points. A true and correct copy of Ms. Wolff’s June 30, 2023

 7 email, of which I was a recipient, is attached as Exhibit F.

 8            6.       On July 5, 2023, Ernest Galvan, counsel for the Plaintiff class, responded to Ms.

 9 Wolff’s June 30 email regarding class member interviews. Mr. Galvan reiterated several

10 requirements to which Defendants had previously agreed (including Plaintiffs’ counsel’s presence

11 during the interview and Plaintiffs’ counsel’s ability to meet privately with their client before each

12 interview to discuss “the purpose of the interview to ensure that participation is with informed

13 consent.”) and also raised a number of new requirements – including a request for a sample set of

14 questions and information on the method used to select patients for interviews, among others. A

15 true and correct copy of Mr. Galvan’s July 5, 2023 email is attached as Exhibit G.

16            7.       Elise Thorn from my office and our co-counsel, Samantha Wolff, met and

17 conferred via videoconference with Plaintiffs’ counsel on July 6, 2023, to discuss Plaintiffs’

18 concerns regarding patient interviews and attempt to reach a compromise. Ms. Wolff sent an

19 email (to which I was copied) to Plaintiffs’ counsel later that evening outlining the parties’ areas

20 of agreement and disagreement. Mr. Galvan and Ms. Wolff continued to communicate to work

21 through Plaintiffs’ concerns over the next several days. On July 7, 2023, Mr. Galvan outlined the

22 parties’ areas of agreement (including, that patient interviews may occur with Plaintiffs’ counsel

23 present, Plaintiffs’ counsel may meet privately with their clients before the interviews, and the

24 interviews would be recorded, among other areas of agreement) and disagreement (observation of

25 treatment). I was copied on all of their correspondence.

26            8.       On Monday, July 10, Michael Bien replied to the same email thread to raise

27 concerns regarding Defendants’ consultants’ observations of 1:1 treatment and to note Plaintiffs’

28 counsel’s agreement to permit observation of intake and screening, IDTTs, and group treatment
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 1 with Plaintiffs’ counsel present and patient consent. Mr. Bien and I subsequently exchanged a

 2 number of emails regarding this and other topics relating to the scope and content of Defendants’

 3 consultants’ tours for over a week. I attempted to address Mr. Bien’s concerns and offer

 4 compromises to reach agreement – including offering to allow Plaintiffs’ counsel and a member of

 5 the Special Master’s team to sit in the room during the 1:1 treatment session (without defense

 6 counsel present), and agreement that the treating clinician obtain patient consent for the

 7 observation. I also sought to correct a number of Mr. Bien’s misstatements. It appeared to me

 8 from these communications that Plaintiffs had agreed that patient interviews may occur (subject to

 9 the caveats agreed upon by the parties, including the presence of Plaintiffs’ counsel), that the

10 consultants may silently observe group treatment, but that Plaintiffs refused to agree to the

11 consultants’ silent observations of 1:1 treatment. A true and correct copy of this email string

12 between counsel for the parties is attached as Exhibit H.

13            9.       VRJS/Falcon has sought to observe similar aspects of CDCR’s MHSDS as the

14 Special Master’s team during their tours, including observing group treatment sessions, touring

15 areas where mental healthcare is delivered, and speaking with clinical staff where appropriate.

16 While Plaintiffs’ counsel have demanded that a written script be used to obtain patients’ verbal

17 informed consent for interviews and silent observation of group treatment and other non-

18 confidential meetings and encounters, such as ICCs, I am informed and believe this has never been

19 a requirement during other prison tours in this case, including those previously conducted by

20 Defendants’ experts. Indeed, I am informed and believe the Special Master’s experts’ tours

21 regularly include observation of the following types of group and non-confidential encounters, to

22 which Plaintiffs’ counsel have never objected nor required informed consent: IDTTs; Mental

23 Health Treatment Groups; ICCs; Huddles; and, Psych Tech Rounds. Notably, ICCs are not mental

24 health treatment and are merely a custody function to which patients have no expectation of

25 privacy or confidentiality. I am also informed and believe that the Special Master’s expert,

26 Lindsay Hayes, has also observed 1:1 types of encounters, including R&R nurse screenings, Crisis

27 Intervention Team, urgent and emergent referral assessments, pre-Ad Seg screening, alternative

28 housing assessments, and psych tech rounds. Defendants are not aware that Plaintiffs’ counsel
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 1 have previously required verbal informed consent before observing these types of encounters in

 2 this case, including during Special Master team tours or during the staffing tours previously

 3 conducted by VRJS/Falcon (which included observation of IDTTs).

 4            10.     To address Plaintiffs’ counsels’ objections regarding consent and in the hope that

 5 the tours could proceed without the parties needing to seek Court intervention, Defendants

 6 modified a written consent form proposed by Plaintiffs into a script to use to obtain informed

 7 consent verbally. Defendants have now found this informed-consent script to be unworkable.

 8 Defendants’ attorneys attending the tours have advised that the script is intimidating and confusing

 9 to the patients and the clinicians. Additionally, I am informed by my co-counsel who have

10 attended the tours that Plaintiffs’ counsel have persisted in actively engaging with patients and

11 clinicians during the consent process in an apparent attempt to lead them to refuse to give consent.

12 I am informed and believe that during the consent process for one group-treatment session,

13 Plaintiffs’ counsel even interjected that the purpose of the observations was to reduce mental-

14 health staffing.

15            11.     Significant coordination and planning is required to create VRJS/Falcon’s tour

16 schedules, and requires extensive coordination between CDCR facilities and Defendants’

17 consultants. Defendants are working hard to provide Plaintiffs’ counsel and the Special Master’s

18 team with at least four weeks’ advance notice of the tour schedule, and sometimes even longer,

19 consistent with the common practice in this case. Indeed, Plaintiffs were informed on June 13 of

20 tour dates set to occur some ten weeks later in August. And while Plaintiffs have complained that

21 they have not generally been provided an advance daily schedule with start and stop times, a

22 specific start time was provided for the first day of each tour with succeeding day start and end

23 times set based on the institution’s schedules for each day. This approach is similar to the timing

24 and flexible approach used for other tours in this case, including tours conducted by the Special

25 Master’s team.

26            12.     Further, although Plaintiffs’ now object to Defendants’ consultants’ silent

27 observation of 1:1 treatment, Dr. Penn (Defendants’ expert) observed 1:1 telepsychiatry treatment

28 on December 1-2, 2022, at California Medical Facility and San Quentin State Prison as part of an
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 1 evaluation of CDCR’s telepsychiatry policy. (ECF No. 7202-1 (Decl. Penn ⁋ 5, Ex. A).) I was at

 2 San Quentin during Dr. Penn’s observations of 1:1 treatment there, but to limit the number of

 3 observers, I did not sit in on the actual 1:1 treatment. Plaintiffs took no issue then, and an attorney

 4 for Plaintiffs even sat in with Dr. Penn during the observation.

 5

 6            I declare under penalty of perjury under the laws of the State of California that the

 7 foregoing is true and correct.

 8            Executed on this 25th day of July, 2023, at San Francisco, California.

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10                                                       /s/ Damon McClain
                                                         Damon G. McClain
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